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                           12D01-2008-CT-000570                            #: 698/14/2020 5:51                       PM
                                                                                                                   Clerk
                                            Clinton Superior Court                               Clinton County, Indiana




STATE OF INDIANA                )                 IN THE CLINTON SUPERIOR/CIRCUIT COURT
                                ) SS:
COUNTY OF CLINTON               )                 CAUSE NO.:

LORENA MARTINEZ,                        )
                                        )
        Plaintiff,                      )
                                        )
V.                                      )         JURY TRIAL REQUESTED
                                        )
WAL-MART STORES EAST, LP,               )
                                        )
        Defendant.                      )


                                 COMPLAINT FOR DAMAGES

        Plaintiff, Lorena Martinez, by counsel, Matthew T. Kavanagh, for her Complaint for

Damages against the Defendant, Wal-Mart Stores East, LP, respectfully shows the Court as

follows:

                                   Facts Common to All Counts

        1.      At all times relevant hereto, Plaintiff was a resident of the City of Frankfort, County

of Clinton, State of Indiana.

        2.      At all times relevant herein, Defendant, Wal-Mart Stores East, LP, was a Delaware

Limited Partnership registered in the State of Indiana.

        3.      At all times relevant herein, Defendant owned, maintained, and/or controlled a

retail store under the name of Wal-Mart, a business located at 2460 East Wabash Street, in the City

of Frankfort, County of Clinton, State of Indiana.

        4.      On or about August 30, 2018, Plaintiff was walking on the premises of the

aforementioned Wal-Mart Store.

        5.      As Plaintiff was walking through the bakery department, she slipped on a pile of

mashed potatoes that had been spilled on the floor.
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       6.        No signs or other notices of the aforementioned spilled mashed potatoes, which was

creating a dangerous condition, were prominently displayed.

       7.        At said time and place, Defendant, its employees, and/or agents knew or, by the

exercise of reasonable care, should have known of the dangerous condition created by the spilled

mashed potatoes.

       8.        Defendant failed to exercise reasonable care by inadequately protecting Plaintiff

against the dangers created by the dangerous condition.

       9.        Defendant committed one or more of the following acts and/or omissions of

negligence:

             a) Defendant failed to warn Plaintiff of the potential danger posed by the dangerous
                condition on its premises;

             b) Defendant failed to properly ensure the safety of its premises;

             c) Defendant failed to check and/or remediate the dangerous condition on its premises
                prior to allowing persons to enter its premises;

             d) Defendant failed to timely inspect, remediate, or repair the dangerous condition;

              e) Defendant failed to implement proper safety and/or maintenance procedures;

              t) Defendant violated applicable ordinances, codes, and state laws applicable to the
                 maintenance of their stores; and

             g) Defendant failed to otherwise maintain its premises in a reasonably safe condition.

       10.       As a direct and proximate result of Defendant's negligence and breach of duties,

Plaintiff sustained severe and recurring injuries which have caused her pain, suffering, and

emotional distress.

       11.       As a direct and proximate result of Defendant's negligence, Plaintiff was required

to seek medical treatment from various health care providers, has incurred medical expenses as a

result thereof, and may incur medical expenses in the future.



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           WHEREFORE,      Plaintiff,    Lorena Martinez, by counsel, Matthew T. Kavanagh, prays for

judgment against Defendant, Wal-Mart Stores              East, LP, in an     amount commensurate With her

injuries   and damages, for any and      all   pre-judgment interest calculated daily according to Statute,


for the cost 0f this action, for trial   by jury, and   for all other reliefjust   and proper   in the premises.




                                                      Respectfully submitted,


                                                      SCHILLER LAW OFFICES, LLC


                                                      /s/Matthew     T.Kavanagh
                                                      Matthew   T.   Kavanagh
                                                      Attorney N0. 34393-49
                                                      SCHILLER LAW OFFICES, LLC
                                                      2 1 O E. Main Street
                                                      Carmel, IN 46032
                                                      Telephone: 3 17-578-2100
                                                      Facsimile: 3 1 7-578-1 146
                                                      E-Mail: mkavanagh@schillerlawofﬁces.com
                                                     Attorneyfor the Plaintiﬁ’
